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 3                                   UNITED STATES DISTRICT COURT

 4                        WESTERN DISTRICT OF WASHINGTON AT TACOMA

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 6                                                                 )
       CHAO CHEN,                                                  )   C17-5769-RJB
 7                                                                 )
                                      Plaintiff,                   )   TACOMA, WASHINGTON
 8                                                                 )
       v.                                                          )   November 20, 2017
 9                                                                 )
       THE GEO GROUP, INC.,                                        )
10                                                                 )
                                      Defendants.                  )
11                                                                 )
       and                                                         )
12                                                                 )
       STATE OF WASHINGTON,                                        )   C17-5806-RJB
13                                                                 )
                                       Plaintiffs,                 )
14                                                                 )
       v.                                                          )
15                                                                 )
       THE GEO GROUP, INC.,                                        )
16                                                                 )
                                      Defendants.                  )
17

18
      ___________________________________________________________
19
                   VERBATIM REPORT OF PROCEEDINGS
20              BEFORE THE HONORABLE ROBERT J. BRYAN
                    UNITED STATES DISTRICT JUDGE
21    _____________________________________________________________

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 3    APPEARANCES:

 4

 5     For the Plaintiff                       ANDREW FREE
       Chen:                                   ADAM BERGER
 6                                             JAMAL WHITEHEAD
                                               DEVIN THERIOT-ORR
 7                                             LINDSAY HALM
                                               Attorneys at Law
 8

 9
       For the Defendant                       JOAN MELL
10     GEO:                                    CHARLES DEACON
                                               MARK EMERY
11                                             Attorneys at Law

12

13     For the Plaintiff                       MARSHA CHIEN
       State of Washington:                    LA ROND BAKER
14                                             Assistant Attorneys General

15
       For the Defendant                       JOAN MELL
16     GEO:                                    CHARLES DEACON
                                               MARK EMERY
17                                             Attorneys at Law

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            1                                                  MORNING SESSION

            2                                                   NOVEMBER 20, 2017

            3               THE COURT:             Looks like the gang's all here this

00:00:02    4    morning.      This is combining a hearing in 17-5806, State

00:00:09    5    versus Geo, and 17-5769, Chen versus Geo.

00:00:17    6        I guess the first thing I should do is, I am not going to

00:00:24    7    try and call roll.               If you would make your appearance and let

00:00:29    8    me know who is going to speak for each party.

00:00:33    9               MS. MELL:            Joan Mell.

00:00:36   10               THE COURT:             Wait a minute.               Just a second.                Sorry.     I

00:00:40   11    don't hear well.             It is important you speak right into the

00:00:44   12    mic and keep your voices up, everybody.                                 I don't like to bug

00:00:49   13    you, but I'll bug you if I have to because I have to hear

00:00:52   14    what you are saying.

00:00:53   15               MS. MELL:            May I stay seated for purposes of reaching

00:00:57   16    the microphone?

00:00:58   17               THE COURT:             A lot louder.

00:01:00   18               MS. MELL:            Your Honor, my name is Joan Mell.                                   I

00:01:03   19    represent the Geo Group, Inc.                        I will be doing the oral

00:01:07   20    presentation.          We have co-counsel here, Charles Deacon and

00:01:10   21    Mark Emery.

00:01:15   22               THE COURT:             For Geo.

00:01:19   23               MS. MELL:            We mixed you up.                 We are Geo.             We are on

00:01:23   24    the defense.          You pointed at me.                   We are in the reverse.

00:01:27   25               MS. CHIEN:             Marsha Chien.               I am here with La Rond



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00:01:32    1    Baker.    Between the two of us, we represent the State of

00:01:35    2    Washington.

00:01:36    3               THE COURT:             You are speaking for the State?

00:01:38    4               MS. CHIEN:             Yes.

00:01:40    5               MR. FREE:            Andrew Free, together with Adam Berger,

00:01:43    6    Jamal Whitehead, Devin Theriot-Orr and Lindsay Halm, I

00:01:49    7    represent Mr. Chen.               I will be speaking on his behalf.

00:02:29    8               THE COURT:             I mention my hearing.                     It puts a burden

00:02:33    9    on you, but it is important that you speak up, as I

00:02:36   10    indicated.

00:02:37   11        I set this hearing because the motions to dismiss in both

00:02:45   12    cases overlap.           I divided time in my order by party.                                   I am

00:02:51   13    not sure that was really fair because the plaintiffs in the

00:03:01   14    case have much the same issues and the defense has to respond

00:03:07   15    to both issues.

00:03:13   16        I guess I want to assure you we will give you the time you

00:03:18   17    need to argue.           I set time limits, but I don't follow them

00:03:22   18    very closely.          It was my hope we would finish around noon.

00:03:30   19        I am aware of the motion of remand and other things that

00:03:34   20    have gone on in the case.                     We will deal with those in due

00:03:43   21    course.

00:03:54   22        There is one motion that was noted today that has to do

00:03:57   23    with the filing of the contract.                           Geo filed a motion for an

00:04:06   24    order declaring the contract filing sufficient and,

00:04:09   25    alternatively, to file limited redacted pages in camera and



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00:04:13    1    under seal.          That is a two week motion.                          Not a one day

00:04:17    2    motion.      The defendants -- the plaintiffs have a right to

00:04:21    3    respond.       We will note that for two weeks out.

00:04:31    4        That raises the question of the contract.                                      We got a

00:04:35    5    contract, I believe, from the State that may not be complete,

00:04:39    6    and it may be different than the total contract.                                         That is the

00:04:46    7    one I have been working from because it is the only one I

00:04:50    8    had.     If there are differences, as we discuss this, you can

00:05:01    9    point them out to me if I am referring to the wrong language.

00:05:08   10        Now, in terms of my preparation, I read all your briefs

00:05:14   11    and mostly twice, and reviewed parts of them three or four

00:05:19   12    times.     I have looked at the contract considerably.                                         I have

00:05:27   13    looked at a lot of the law that you have cited.                                        I have

00:05:36   14    worked with my staff on this, my law clerks, two of them have

00:05:40   15    been working on this as well.

00:05:43   16        The bottom line is that my main interest here is the

00:05:47   17    preemption issues.                You can discuss the other issues raised,

00:05:53   18    if you wish to.

00:05:56   19        I think that is all preliminary.

00:06:02   20        Ms. Mell, the burden is on you, I guess.

00:06:07   21                MS. MELL:            Your Honor, for purposes of the

00:06:11   22    allocation --

00:06:13   23                THE COURT:             Let me see if these are going to work

00:06:15   24    now.

00:06:17   25                MS. MELL:            Testing, testing.



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00:06:22    1                 THE COURT:             I can hear you.                When I talk, I get a lot

00:06:28    2    of feedback.            I don't know what the deal is here.                                 Just a

00:06:33    3    minute.       Try again.

00:06:45    4                 MS. MELL:            Your Honor, my name is Joan Mell.                                   I am

00:06:47    5    appearing on behalf of the Geo Corps.                                 It is Geo's position

00:06:51    6    we would request to reserve the full 15 minutes for rebuttal.

00:06:56    7        Having no objection, I will sit down and wait.

00:07:03    8                 THE COURT:             Who is next?              Mr. Free.

00:07:11    9                 MR. FREE:            Good morning, Your Honor, can you hear me

00:07:14   10    okay?

00:07:14   11                 THE COURT:             Yes.

00:07:15   12                 MR. FREE:            Let's start with preemption since that is

00:07:19   13    the concern of the Court.                       It strikes me there is some

00:07:26   14    underlying scaffolding we need to do, and we can address the

00:07:30   15    three forms of preemption that Geo raises.

00:07:32   16        First, there is a presumption against preemption.                                                 It is a

00:07:36   17    function of our federalist system, it is a function of the

00:07:38   18    fact there is a cooperative relationship between the federal

00:07:42   19    government and the states.                       The federal government has never

00:07:45   20    regulated the entire field of wages.                                That is a traditional

00:07:49   21    state function.              States regulate.                 In this case, the State of

00:07:53   22    Washington has regulated it, in fact, since 1913, even before

00:07:57   23    the FLSA.

00:07:58   24        The second presumption is if a party is raising a

00:08:03   25    preemption argument, the party has the burden of proving it.



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00:08:06    1    It is not the plaintiff's burden, Mr. Chen or the State of

00:08:11    2    Washington, to prove the Minimum Wage Act is not preempted.

00:08:15    3    It is Geo's burden to prove it is.

00:08:18    4        I don't know what they are going to say in that regard

00:08:20    5    other than what they have said in their brief.                                       To the extent

00:08:24    6    that Geo raises new arguments in the reply, I would

00:08:26    7    respectfully request the opportunity to rebut those

00:08:28    8    arguments.

00:08:30    9        Moving on to the subject, the specific forms of preemption

00:08:35   10    that Geo has raised.                They raised express preemption, field

00:08:40   11    preemption and conflict preemption.                             The only thing that they

00:08:42   12    say expressly preempts the Minimum Wage Act is IRCA, the

00:08:45   13    Immigration Reform Control Act of 1986, specifically 8 U.S.C.

00:08:50   14    1324a(h)(2), which is IRCA's express preemption clause.

00:08:56   15        When Geo is discussing in their brief prior cases like

00:09:02   16    Alvarado Guevara that indicate this longstanding recognition

00:09:08   17    that state wage claims have no bearing, or that federal wage

00:09:13   18    claims have no bearing on the federal scheme, that's not

00:09:16   19    relevant to express preemption.                          The only express preemption

00:09:20   20    argument that I understand that they have raised in either of

00:09:22   21    the briefs is the IRCA preemption.

00:09:24   22        What does IRCA preempt? IRCA expressly preempts any state

00:09:31   23    or local sanction relating to the hiring or employ of

00:09:34   24    undocumented immigrants.                    Two parts of that, we raised in our

00:09:38   25    brief.    You have the quality of being a sanction, which is



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00:09:42    1    the Second Circuit and Affordable Housing, the New York

00:09:45    2    Supreme Court in IDR vs Balbuena has defined specifically it

00:09:50    3    is a punishment.             That is not the back wages Mr. Chen seeks.

00:09:56    4        I will let the State speak to it separately about the

00:09:59    5    other forms of relief in this case.

00:10:01    6        Back wages are not a sanction, and courts across the

00:10:05    7    country have recognized that.                        Even if they were, which they

00:10:08    8    are not, it is a sanction for hiring undocumented immigrants

00:10:13    9    or allowing those undocumented immigrants to be employed.

00:10:17   10    That is not what the Minimum Wage Act does.                                    The Minimum Wage

00:10:21   11    Act provides a specific bottom level of $11 an hour for every

00:10:27   12    worker, regardless of immigration status.

00:10:29   13        After Hoffman Plastics, which is a Supreme Court case,

00:10:35   14    which says IRCA might interfere with NLRA -- National Labor

00:10:40   15    Relations Act -- if you were to require reinstatement, courts

00:10:42   16    across the country began addressing claims of whether an

00:10:46   17    undocumented person can recover back wages for hours of work

00:10:49   18    below the minimum wage.                   In other words, can an employer get

00:10:52   19    out of having to pay for the labor they have obtained simply

00:10:55   20    because the person that gave the labor is undocumented.

00:10:58   21        Courts across the country, as we set forth in our brief,

00:11:02   22    said no, no because that would encourage employers to skirt

00:11:05   23    the requirements.              It would suppress wages across the labor

00:11:09   24    market.     FLSA and the Minimum Wage Act are labor-market

00:11:13   25    centric.      They recognize that when one employer suppresses



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00:11:18    1    wages for one set of workers, the rest of the employers are

00:11:22    2    subjected to unfair competition.                           It would frustrate the

00:11:26    3    congressional purpose of making sure everybody is getting

00:11:29    4    paid a minimum wage.                It would frustrate the legislative

00:11:33    5    purpose in Washington.                  IRCA does not preempt the Minimum

00:11:37    6    Wage Act.

00:11:45    7               THE COURT:             Let me ask you, there are some inmates on

00:11:52    8    the Tide Flats that are authorized to work in this country;

00:11:56    9    some are not, as I understand it.                           Do we have to look at all

00:11:59   10    of this in two different tracks in order to determine what

00:12:04   11    may be preempted and what may not be?

00:12:07   12               MR. FREE:            Not for the purposes of express

00:12:10   13    preemption, Your Honor, is my answer, and I'll explain it and

00:12:13   14    unpack it.

00:12:14   15        First of all, it is really important to recognize these

00:12:17   16    are not inmates.             They are civil detainees that can't be

00:12:20   17    forced to work.            All of their work is being given to Geo

00:12:24   18    because supposedly they volunteer it.                               Unlike all the cases

00:12:29   19    that Geo cites where they are analogizing to prisoners who

00:12:33   20    have been convicted of a crime, are criminal detainees,

00:12:35   21    immigration detainees are different.                              They are civil

00:12:39   22    detainees.

00:12:39   23               THE COURT:             Detainees and not inmates.

00:12:42   24               MR. FREE:            The second point is you are -- if you were

00:12:45   25    to get to the question of employment status, you would see



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00:12:49    1    that, yes, a lot of people in the Tide Flats, in the Tacoma

00:12:52    2    Northwest Detention Facility, do have work authorization.                                              A

00:12:56    3    significant portion of the 1,575 people there either were

00:13:01    4    permanent residents and are currently undergoing an

00:13:04    5    administrative proceeding or have authorization to work

            6    through pending asylum applications, through pending

00:13:11    7    cancellation of removal applications or have a bona fide

00:13:12    8    claim to U.S. citizenship, frankly.                              So, yes, there are

00:13:14    9    people there who can be working.

00:13:16   10         That is a question for conflict preemption analysis.                                            That

00:13:20   11    is not a question for express preemption analysis.                                           Because

00:13:23   12    the express preemption question is, is the Minimum Wage Act

00:13:29   13    properly subject to 8 U.S.C. 1324a(h)(2), which is the

00:13:35   14    sanction provision.

00:13:36   15         If you would like for me to address that question in the

00:13:39   16    context of conflict preemption, I can. If 1324a(h)(2) doesn't

00:13:45   17    cover back pay, it doesn't matter whether they are

00:13:48   18    authorized.          That is our argument.                     It doesn't cover that.

00:13:51   19    It is not a sanction for the hiring of undocumented

00:13:54   20    immigrants, and therefore congress did not preempt the

00:13:58   21    Minimum Wage Act.

00:14:04   22                THE COURT:             The effect of 1324a(a)(1)(A) would be if

00:14:11   23    these people are truly employees, it would make Geo a

00:14:20   24    criminal for hiring them.

00:14:28   25                MR. FREE:            First of all, you have the state law



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00:14:30    1    question.        These are Minimum Wage Act claims under Washington

00:14:33    2    state law.         Federal law would be a separate question.                                         Your

00:14:39    3    Washington state law requires that everybody who does work in

00:14:44    4    Washington gets paid the minimum wage unless they are subject

00:14:46    5    to exemption.           Period.          If there are consequences to Geo for

00:14:51    6    that, then that is the impact of Washington state law.

00:15:00    7         With respect to field preemption, unless the Court has

00:15:03    8    questions about express preemption, Geo has, in its reply

00:15:08    9    brief to our response, expressly foreclosed a regulatory

00:15:11   10    preemption argument.                 That is at pages four and five in Note

00:15:15   11    13 of Geo's reply brief.                     What they say is the agency, we,

00:15:20   12    Geo, are not claiming that the agency has preempted the

00:15:23   13    field.

00:15:29   14         They go through this entire exercise in their motion to

00:15:33   15    dismiss discussing the complex statutory, regulatory and

00:15:36   16    policy framework, discussing how congress, through its

00:15:37   17    express and delegated statutory authority, has occupied the

00:15:41   18    field of immigration detention and labor.

00:15:44   19         Then when we point out that there are certain requirements

00:15:48   20    that an agency must go through if it is going to preempt

00:15:52   21    state law under executive orders, under federal law, none of

00:15:56   22    that is in the record here.                       In fact, it is the opposite.

00:15:58   23    Under PBNDS, the Performance Based National Detention

00:16:02   24    Standards, that ICE promulgated, they say at least a dollar a

00:16:06   25    day.     In practice, Geo pays employees, detainees in other



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00:16:11    1    facilities more than a dollar a day.                               There is not that

00:16:14    2    regulatory record.                They foreclosed that argument.                             They

00:16:19    3    expressly disclaim regulatory exemption. So we are stuck with

00:16:22    4    field preemption on the statutes they cite.

00:16:24    5         Those statutes, particularly 8 U.S.C. 1231(g), which deals

00:16:30    6    with the location of detention centers and the secretary's

00:16:33    7    authority to come up with locations for detention, and 8

00:16:36    8    U.S.C. 1103(a)(11)(B), which deals with the secretary's

00:16:41    9    authority to contract with state or local government for the

00:16:45   10    detention and safekeeping of detainees, to enter into

00:16:49   11    agreements to do that.                   Most relevantly, I think, is 8 U.S.C.

00:16:54   12    1555(d) which says -- congress said that congress --

00:16:58   13    appropriations shall be available for the payment of

00:17:03   14    allowances to immigrant detainees at a rate that congress

00:17:08   15    shall set from time to time in the Appropriations Act

00:17:12   16    involved.        I can read the direct quote if you like.                                      That's

00:17:16   17    the message.

00:17:17   18         The last time congress did that was in 1978.                                        It hasn't

00:17:22   19    done anything since.                 The agency has continued to run the

00:17:25   20    dollar a day program.                  In fact, it is said you can do more,

00:17:29   21    you can pay them more, but you must pay them at least a

00:17:32   22    dollar a day.

00:17:34   23         No party in this case, including Geo and ICE, a non-party,

00:17:39   24    has behaved as though that is the ceiling.                                    Not since 1978.

00:17:46   25    Almost 40 years.              Okay?



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00:17:49    1         None of the statutory citations that Geo provides forms

00:17:53    2    the complex federal statutory scheme that would foreclose any

00:18:00    3    state action.           The reason we know that is through Arizona vs

00:18:04    4    United States.

00:18:04    5         In Arizona vs United States, the Supreme Court looked at a

00:18:08    6    number of actions taken by the legislature in the state of

00:18:11    7    Arizona.       It said, if we put all these things together, it is

00:18:15    8    clear that with respect to certain parts of the statute

00:18:17    9    congress acted, and there can be no room for other state

00:18:22   10    regulation.

00:18:23   11         With respect to others, other parts of this statute,

00:18:27   12    particularly the identification provisions of Arizona's law,

00:18:31   13    that's a traditional police power that is governed by

00:18:34   14    preemption principles.                   They said that can go forward, and it

00:18:38   15    did.    Similarly, you look at a regulation or alien

00:18:42   16    registration provision like you have in Heinz and in other

00:18:45   17    cases, that is a complete federal scheme where the federal

00:18:49   18    government, by statute, has conveyed what needs to happen,

00:18:53   19    has reserved to itself what needs to happen in clear terms

00:19:00   20    that foreclose any possibility of cooperative federalism.

00:19:03   21         That is not the case here.                         How do we know?                We look at

00:19:07   22    the contract.           The contract says that when there is an

00:19:10   23    ambiguity between the contract, federal law and state law,

00:19:15   24    you are going to observe the most stringent requirement.                                             The

00:19:20   25    contract sets forth the constraints that Geo has to follow as



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00:19:24    1    part of its performance down at the Tide Flats.                                        Those

00:19:28    2    constraints include applicable state and local labor codes,

00:19:33    3    applicable state and local health and safety codes.

00:19:37    4         To say, well, we have this cooperative federalism with

00:19:41    5    regard to health and safety, with regard to some state and

00:19:44    6    local labor codes, but not others, embarrasses the argument

00:19:50    7    that congress has field preempted all immigration detention.

00:19:55    8    It is just not the case.

00:19:56    9         We explained in our brief what you have to have if you are

00:20:01   10    going to field preempt something, and we don't have it.                                              I

00:20:04   11    think where the closest question is for the Court is, is this

00:20:06   12    conflict preempted.                Geo claims that if it was forced to pay

00:20:13   13    Mr. Chen, and the punitive class he seeks to represent,

00:20:17   14    Washington's minimum wage would present a conflict to the

00:20:25   15    accomplishment of the purposes set forth in federal law.

00:20:28   16    Under Geo's claim, if that's true, then the Minimum Wage Act

00:20:30   17    is preempted.

00:20:32   18         Let's unpack that idea for a second.                                 If Geo is right,

00:20:37   19    every federal contractor that is subject to a federal law and

00:20:43   20    a state law is going to be able to say that if compliance

00:20:48   21    with the state law gets too expensive, so expensive in fact

00:20:53   22    that they might not want to do it any more, then that state

00:20:56   23    law is preempted.               That would be the government contractor

00:21:01   24    defense that has been raised in United States vs Boyle.

00:21:04   25         Geo didn't raise the government contractor defense here.



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00:21:07    1    They have not raised the government contractor defense, and

00:21:10    2    it is because that government contractor defense has failed

00:21:13    3    elsewhere.         Doesn't apply.

00:21:16    4         The idea that the company's expense and compliance with

00:21:21    5    the law can provide a basis for preempting a state law has

00:21:27    6    never been supported by any court.                             That is the sort of

00:21:31    7    elemental question.

00:21:33    8         Then we can unpack it a little more.                                 As a practical

00:21:36    9    matter, it is not just a hypothetical conflict that they have

00:21:39   10    to prove.        They have to prove there will be an actual

00:21:41   11    conflict.        It can't just be a tension between federal law and

00:21:45   12    state law.         It has to be irreconcilable, and we have to know

00:21:49   13    it is going to happen.

00:21:50   14         The very important point from this record at this stage of

00:21:54   15    the case is there has been no discovery.                                  We have

00:21:57   16    out-of-court statements and footnotes from a corporation that

00:22:01   17    has a monetary interest in not complying with the law, not

00:22:04   18    having the law applied to it.                         We have had no opportunity to

00:22:07   19    cross-examine anybody.                   We have had no opportunity to test

00:22:10   20    what the agency's position on this is.                                 We haven't heard from

00:22:13   21    the federal government.                    Why aren't they here?                      Geo hasn't

00:22:17   22    moved to dismiss for failure to join an indispensable party.

00:22:21   23    The government has intervened.

00:22:23   24         We are sitting here on a paper record that consists of

00:22:25   25    statements of counsel.                   I'll raise my hand and say, I am



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00:22:28    1    included because Geo, in the reply brief, quotes me as

00:22:32    2    saying -- they don't quote me, they quote the article --

00:22:34    3    saying if Geo had to pay, and all these contractors had to

00:22:37    4    pay, the immigration detention system would collapse.

00:22:39    5          First of all, I am not quoted as saying that.                                          Second of

00:22:42    6    all, it doesn't exactly matter.                           Geo, and we cite this in our

00:22:47    7    brief in a footnote, Geo's western regional supervisor told

00:22:51    8    the people of Washington that you could close the Tide Flats,

00:22:55    9    that it wouldn't affect federal policy, it wouldn't affect

00:22:56   10    the federal immigration policy.                           That's what he said.

00:22:59   11         What we are dealing with at this point is competing

00:23:02   12    factual statements that are not in the record.                                        It would be

00:23:05   13    inappropriate for the Court to resolve those factual disputes

00:23:08   14    at this point.

00:23:09   15         I don't have a good idea where I am on time.

00:23:12   16                THE COURT:             You are past due.

00:23:13   17                MR. FREE:            I apologize.              Unless the Court has

00:23:16   18    questions about the plaintiff's position.

00:23:17   19                THE COURT:             I may have.

00:23:21   20         Thank you, Mr. Free.                   Ms. Chien.

00:23:30   21                MS. CHIEN:             As the Court noted earlier, we filed a

00:23:38   22    motion to remand on November 8.                           We wanted to raise the point

00:23:42   23    that the existence of a private class action in federal court

00:23:45   24    doesn't create federal jurisdiction over the state claim.

00:23:49   25    That is Syngenta vs Henson.



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00:23:52    1         It is not necessary to reach the motion to dismiss against

00:23:56    2    the State.         However, if the Court is inclined to reach the

00:23:59    3    motion to dismiss, we would like to address the certain

00:24:01    4    issues, specifically what this case does and does not do.

00:24:05    5         The State seeks to enforce the state minimum wage law

00:24:09    6    against a private employer that does business in Washington,

00:24:12    7    just like it enforces the minimum wage law against any

00:24:16    8    private employer in Washington.                           The State does not seek to

00:24:19    9    challenge federal immigration authority to detain aliens, it

00:24:24   10    does not seek to challenge federal authority to contract with

00:24:27   11    Geo or detention services.                      The State does not seek to

00:24:31   12    challenge federal immigration policies, nor does the State

00:24:35   13    seek to challenge the congressional appropriations.

00:24:39   14         Geo, in the reply brief, repeatedly states that ICE cares

00:24:43   15    about the voluntary work program and the fact that detainees

00:24:46   16    work in order to defray costs, in order to eliminate or

00:24:51   17    minimize the tax burden on taxpayers.                                Unfortunately, that is

00:24:55   18    nowhere found in ICE's detention standards nor in the

00:24:58   19    contract between ICE and Geo.                         The contract between ICE and

00:25:01   20    Geo requires Geo to apply all applicable state -- comply with

00:25:07   21    all applicable state labor laws.                            If there is any ambiguity,

00:25:12   22    to apply the most stringent law between federal, state and

00:25:15   23    local laws.          It also requires that Geo not use its detainee

00:25:22   24    workers to fulfill the responsibilities of the contractor.

00:25:27   25         The detention standards that defendants cite repeatedly,



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00:25:34    1    the purpose of the detention standards is not to defray

00:25:37    2    costs.     It is to provide opportunities for detainee workers

00:25:43    3    to earn money.            The concerns about defraying cost and tax

00:25:46    4    burdens are nowhere found within ICE's detention standards or

00:25:51    5    the contract.           Those are Geo's concerns alone.                               Geo's

00:25:55    6    concerns regarding costs, whether it is private or otherwise,

00:25:59    7    are Geo's alone, meaning all federal concerns or federal

00:26:02    8    issues that ostensibly create federal jurisdiction or

00:26:08    9    ostensibly create federal preemption, are non-existent.

00:26:12   10         I think Mr. Free addressed most of the preemption

00:26:15   11    arguments.         I would like to spend some time addressing some

00:26:17   12    of the claims specifically made against the State.

00:26:21   13         If Your Honor has any other questions, I am happy to

00:26:24   14    answer those as well.

00:26:25   15         The first argument that defendants bring is whether or not

00:26:29   16    the State has authority or standing to bring this claim.                                             It

00:26:34   17    would be incredible if the state attorney general's office

00:26:37   18    did not have authority to enforce its own laws.                                        The AG --

00:26:42   19    the legislature enacted RCW 43.10 -- sorry -- enacted all of

00:26:49   20    the -- enacted the legislature statute, and enacted listing

00:26:53   21    all of the AG's powers, including the ability to bring cases

00:26:57   22    of public concern, matters of public concern in any court.

00:27:00   23    That was affirmed in City of Seattle vs McKenna, which is an

00:27:04   24    interesting case because City of Seatte vs McKenna basically

00:27:09   25    stands for the proposition that the AG's office can bring



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00:27:12    1    these cases, as long as there is a matter of concern, and

00:27:15    2    that is regardless of whether or not some portion of the

00:27:18    3    population disagrees with the lawsuit at hand.

00:27:22    4                THE COURT:             Ms. Chien, how does the enforcement of

00:27:32    5    the Minimum Wage Act usually proceed against an employer who

00:27:36    6    is not abiding by it?

00:27:38    7                MS. CHIEN:             The Department of Labor & Industries is

00:27:42    8    the primary agency that enforces the Minimum Wage Act. That

00:27:45    9    doesn't preclude the attorney general from also enforcing the

00:27:49   10    Minimum Wage Act.               Nothing within -- nothing that is cited by

00:27:52   11    defendants that would preclude our enforcement.

00:27:56   12         I also mention in their reply defendants raise the

00:28:01   13    argument that City of Seatte vs McKenna requires statutory or

00:28:06   14    common law -- a cognizable common law claim.

00:28:10   15         We have both.             The Minimum Wage Act clearly prohibits the

00:28:13   16    conduct that Geo is engaged in, and unjust enrichment is

00:28:18   17    cognizable in a common law claim.

00:28:21   18         The only other case the defendants rely on in the reply is

00:28:27   19    Confederated Tribes, which held that a tribe cannot -- did

00:28:29   20    not have authority to bring a lawsuit because the law they

00:28:33   21    were challenging affected only a single tribal member.

00:28:37   22         That is completely different from the case we have here.

00:28:40   23    The Minimum Wage Act was enacted purposely because the impact

00:28:44   24    of not following minimum wage is a broad impact.                                         It

00:28:49   25    discourages people from hiring people within the Tacoma



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00:28:53    1    community.         It hurts the health and well-being of the workers

00:28:58    2    that are paid a substandard minimum wage.                                   This has broader

00:29:02    3    impact than just against one individual member of our -- of

00:29:05    4    the Washington community.                      This has -- this impacts

00:29:09    5    thousands.

00:29:10    6         Defendant doesn't reply to those arguments.                                       Those are --

00:29:13    7    we wanted to make sure that was on the record.

00:29:17    8         Regarding the failure to state a claim -- I don't know if

00:29:21    9    you have any other questions around standing or authority

00:29:24   10    that I can address.                I think those are well covered.                               I can

00:29:27   11    move on to failure to state a claim.

00:29:29   12                THE COURT:             Yes.

00:29:30   13                MS. CHIEN:             As is clear, as Geo even acknowledges,

00:29:34   14    our Minimum Wage Act clearly covers the detainee workers.

00:29:39   15    There is no exemption for detainees held by private companies

00:29:43   16    at the Tide Flats.                The exemption -- our Minimum Wage Act is

00:29:47   17    to be liberally construed.                      In this way, our Minimum Wage Act

00:29:52   18    differs significantly from FLSA, which is the Federal Labor

00:29:56   19    Standards Act.            Differs in two significant ways.                               Number one,

00:29:59   20    the purpose of the Minimum Wage Act is much broader than the

00:30:02   21    Fair Labor Standards Act.                      We care about the employment

00:30:05   22    opportunities within our community, not just the health and

00:30:08   23    well-being of the detainee workers.

00:30:11   24         Second, FLSA makes no mention regarding detainee --

00:30:16   25    whether or not the state prisoners or anybody is exempted.



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00:30:21    1    Here, under the Minimum Wage Act, we have an explicitly

00:30:25    2    stated exemption for those detainees held in state

00:30:30    3    facilities, meaning the legislature contemplated detention

00:30:35    4    facilities, decided to exempt state facilities and chose not

00:30:39    5    to exempt the Tide Flats facility right here.

00:30:43    6         The only argument Geo makes to oppose that argument is

00:30:50    7    that it would only be unreasonable if it didn't also apply to

00:30:55    8    their facility in the Tide Flats.                            That amounts to nothing

00:30:59    9    but a disagreement with the way our state law is crafted.

00:31:02   10         We cannot assume the legislature would have exempted the

00:31:06   11    Northwest Detention Center.                       I can't imagine the legislature

00:31:10   12    would do so now.

00:31:12   13         Regarding FLSA, our Minimum Wage Act is to be liberally

00:31:23   14    construed whereas FLSA is persuasive authority, it is not

00:31:28   15    binding.       Where it is different, it should be treated as

00:31:32   16    different, and the Minimum Wage Act in our case is different.

00:31:35   17         I would like to move -- if the Judge doesn't have any

00:31:39   18    other questions regarding the Minimum Wage Act, I'll move on

00:31:41   19    to the unjust enrichment provision.

00:31:45   20         Unjust enrichment is different from our Minimum Wage Act

00:31:49   21    claim.     We are seeking to discourage the ill-gotten gains,

00:31:55   22    profits made by Geo for profits received for failure to pay

00:31:59   23    the fair wage that they would have had to pay Tacoma workers

00:32:03   24    in the community or otherwise to operate its facility.                                               The

00:32:08   25    only argument that detainees make is that somehow the state



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00:32:14    1    could be bound by -- is prevented from bringing the claim due

00:32:18    2    to unclean hand and laches.                       Both are equitable defenses.

00:32:24    3    The burden lies with defendant to prove them.                                       In this case,

00:32:27    4    defendant has done neither.

00:32:31    5                Regarding unclean hands, the fact the government has

00:32:37    6    exempted itself under its own state laws and not exempted

00:32:43    7    Geo's facility doesn't render our hands unclean.                                         You can

00:32:48    8    look to U.S. vs Phillip Morris, which was the government

00:32:51    9    challenging Phillip Morris' failure to disclose all the risk

00:32:55   10    associated with tobacco usage, and Phillip Morris came back

00:32:59   11    and said, yeah, government, you knew there was also problems

00:33:02   12    with tobacco usage and you didn't say anything either.                                               The

00:33:08   13    court in the District of Colombia held that is not an unclean

00:33:11   14    hands defense as held against the government, whereas the

00:33:15   15    claims against the government did not suggest the government

00:33:18   16    had engaged in any fraud or misrepresentation.                                        Nor is the

00:33:22   17    case here.         Us exempting the state detainees from the Minimum

00:33:28   18    Wage Act is not fraud or misrepresentation or any sort of

00:33:31   19    unlawful conduct.

00:33:33   20          Regarding laches.                Again, it is the defendant's burden to

00:33:39   21    prove laches applies.                  Here, it is unclear from the briefing

00:33:44   22    whether or not Geo -- when Geo believes that laches would

00:33:50   23    apply.     It is unclear when was the delay.                                They failed to do

00:33:58   24    so.    Any delay in bringing the unjust enrichment claim

00:34:04   25    doesn't prevent them -- does not constitute prejudice,



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00:34:09    1    another requirement of laches.                          I would refer the Court to In

00:34:13    2    Re Marriage of Hunter where it says, any delay for legal

00:34:15    3    obligation that you were supposed to have done years ago

00:34:18    4    cannot count as prejudice.

00:34:21    5         In sum, we believe the State has clear authority under

00:34:27    6    City of Seatte vs McKenna to bring this case.                                       This is

00:34:32    7    bear -- there are several courts that have deemed that

00:34:36    8    federal contractors, just by the fact they are federal

00:34:39    9    contractors, does not get out of their obligation under state

00:34:44   10    law.    I would only add, regarding on the preemption issue you

00:34:48   11    mentioned, that IRCA -- IRCA does not preempt our state laws.

00:34:55   12    Geo is completely capable of complying with both our state

00:35:00   13    law as well as IRCA.                 Does so every day with regard to the

00:35:05   14    security employees, and they check if their employees are

00:35:10   15    work authorized and they pay them minimum wage.                                        They could

00:35:13   16    do the same here.               There is no preemption between IRCA and

00:35:21   17    state law.

00:35:22   18         The only other -- the only other thing -- the only other

00:35:31   19    item I would add is in defendant's reply on the conflict

00:35:36   20    preemption issue that Mr. Free addressed in Salas vs Sierra

00:35:40   21    Chemical, that case stands for the proposition that IRCA does

00:35:43   22    not preempt wage worker protection laws.                                  It may affect the

00:35:49   23    remedy.      For example, in that case that said the remedy was

00:35:54   24    limited in Salas, the worker wouldn't be able to get pay

00:35:58   25    after their unlawful determination, after it was discovered



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00:36:02    1    they were unauthorized.                     That is different from what we have

00:36:07    2    here.      We are talking about people detaining workers who have

00:36:10    3    worked the hours, you know, worked their hours and benefitted

00:36:16    4    Geo, who are not getting paid.                           It is not for work not

00:36:21    5    performed, not for wages for an unlawful determination.                                               That

00:36:25    6    is something that is completely separate.

00:36:27    7          In short, we say the authority over this Minimum Wage Act

00:36:31    8    claim preemption does not apply.                             This case is not about

00:36:35    9    federal laws. It is not about federal issues.                                        Just because

00:36:37   10    of the fact that Geo is a federal contractor doesn't deem it

00:36:43   11    so.

00:36:48   12                 THE COURT:             Thank you, Ms. Chien.

00:36:51   13          Ms. Mell.

00:36:55   14                 MS. MELL:            Thank you, Your Honor.                      Joan Mell

00:37:00   15    appearing on behalf of the Geo Corps.                                 Geo Corps is here to

00:37:03   16    ask the Court to dismiss these cases by the state and

00:37:06   17    Mr. Chen as a matter of law for failure to state a claim.

00:37:10   18    There are other preemption issues that I will get into in

00:37:14   19    further detail as we go along.

00:37:15   20          You asked a very specific question.                                I have Geo's answer

00:37:18   21    to your question.                Does this Court need to be bifurcating

00:37:22   22    those people who can work and try to ascertain a fact pattern

00:37:25   23    of who has eligibility for competitive work and those who

00:37:29   24    don't?      The answer is clearly no.

00:37:32   25          That answer needs to come from ICE.                                ICE needs to engage



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00:37:37    1    in that discussion.                That is a public policy discussion

00:37:39    2    because this is detention.                      This is not a competitive work

00:37:44    3    environment.           The way we address people who can work

00:37:47    4    competitively in a detention or restraint type scenario, we

00:37:55    5    develop work release programs.                          We develop least restrictive

00:37:59    6    alternatives.           This state has a long history and a long

00:38:02    7    public record of public policy debate about who is eligible,

00:38:08    8    under what terms, what conditions, where they are allowed to

00:38:11    9    be released into the community, how they are supervised, how

00:38:14   10    those wages earned are handled and deducted and contributed

00:38:18   11    back to the state to cover the cost of their care and

00:38:21   12    supervision.

00:38:22   13          That is not a determination that this Court should engage

00:38:25   14    in.    That is not a discussion that this Court should get into

00:38:29   15    because that is a policy discussion for ICE.

00:38:33   16          Once you have the detention overlay, we are not in the

00:38:37   17    Minimum Wage Act realm or universe.                              There is no policy basis

00:38:41   18    to merge the two.               There is a preemption issue because the

00:38:46   19    whole argument, you have never heard either side mention the

00:38:49   20    two key discerning factors, detention and immigration.                                               This

00:38:55   21    Court has limited discretionary authority over immigration

00:38:59   22    cases.     That is what the court, who's most closely decided

00:39:03   23    one of those issues, decided in Alvarado.

00:39:05   24          Furthermore, the issue of whether or not the Minimum Wage

00:39:11   25    Act even applies, the Minimum Wage Act, you first have to get



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00:39:15    1    to an employment contract.                      We don't have that here.                         Geo --

00:39:20    2                THE COURT:             Wait a minute.               Isn't that a fact issue

00:39:23    3    that we can't decide in this motion as to whether these

00:39:28    4    people are employees?

00:39:31    5                MS. MELL:            That is not a fact issue.                         There is no

00:39:32    6    disputed fact about who contracts for the voluntary work

00:39:36    7    program.       There is no disputed fact over what is paid.                                          There

00:39:41    8    is no disputed fact over ICE policy with regard to the need

00:39:45    9    for a voluntary work program.

00:39:48   10                THE COURT:             There are a lot of disputed facts about

00:39:51   11    who supervised them, how they are chosen, how much they are

00:39:54   12    paid, what they do, what they can't do. Seems to me, they

00:40:04   13    have many of the hallmarks of employment.

00:40:09   14                MS. MELL:            In detention.

00:40:11   15                THE COURT:             In detention.

00:40:12   16                MS. MELL:            That is not competitive work and that is

00:40:15   17    not minimum wage work.                   Those policies cannot converge.                              If

00:40:19   18    they do converge, then the policy discussion is not as to

00:40:24   19    application of the Minimum Wage Act.                               It is an application as

00:40:26   20    to what is the scope of the way we handle individuals who are

00:40:31   21    detained when they have an immigration status.

00:40:34   22         Now, the IRCA issue that is directly on point, if you look

00:40:38   23    at the house provisions as to what IRCA intended, congress

00:40:45   24    found that work was the magnet for illegal immigration.                                               What

00:40:51   25    the State and what Mr. Chen are actually proposing is that



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00:40:57    1    this Court, by judicial edict, make Geo the magnet.                                            That is

00:41:02    2    a universe that cannot be contemplated in the judicial arena

00:41:08    3    because this Court can't possibly address all the

00:41:10    4    ramifications of creating an employment relationship inside a

00:41:16    5    detention center when the detention is necessary.

00:41:19    6                THE COURT:             I would agree, the Court can't create an

00:41:24    7    employment relationship.                     The question is going to be, if the

00:41:28    8    case goes on, to whether these people were employees.

00:41:35    9                MS. MELL:            We clearly know they aren't employees for

00:41:39   10    purposes of state law.                   The Minimum Wage Act has an express

00:41:42   11    preemption which is far more sophisticated than any local

00:41:46   12    jurisdictional discussion about state law in any of the cases

00:41:51   13    that have been decided.                    Not only that, the beauty of this,

00:41:55   14    the astounding thing is we have a state alleging they have

00:41:58   15    to, allegedly under the McKenna case, come up with some

00:42:03   16    authority to enforce the Minimum Wage Act, when it is not

00:42:06   17    enforceable by the attorney general.                               There is a very

00:42:09   18    stringent statutory scheme and regulatory scheme as to how

00:42:12   19    L&I enforces the Minimum Wage Act.

00:42:15   20         If you are going to extend that, the State can come in

00:42:19   21    with the AG and say, oh, well, there have been no complaints,

00:42:22   22    L&I hasn't taken a position on this.                               Actually, L&I has taken

00:42:28   23    a position on this.                L&I has a policy statement that says

00:42:31   24    private contractors doing work, having people work in a

00:42:34   25    detention center, is not minimum wage work. There is an



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00:42:37    1    express exclusion, so we don't even get there.

00:42:40    2                 THE COURT:             I thought the exclusion applied to state

00:42:44    3    detainees, not federal.

00:42:47    4                 MS. MELL:            The exclusion doesn't have the word

00:42:49    5    "federal" in it because who down in the legislative arena --

00:42:53    6    being a staff person, I would never put the word "federal" in

00:42:57    7    a one-line exclusion in the Minimum Wage Act.                                        They are not

00:42:59    8    in the business of telling the feds what to do.                                         They are

00:43:03    9    staying in their own lane.                       They are addressing their policy

00:43:03   10    concerns because they know at the federal level, ICE,

00:43:07   11    congress, they are going to have the same policy discussions.

00:43:10   12    They are going to decide whether or not they want work

00:43:14   13    economic benefit programs.                       They are going to decide whether

00:43:17   14    they have least restrictive alternatives.                                    They are going to

00:43:20   15    decide whether or not these immigrants are going to be

00:43:22   16    attracted to come to the United States because there is

00:43:25   17    minimum wage jobs in detention.

00:43:27   18         You can't take all the criteria for what it means to be an

00:43:31   19    employee out of the Geo contract.                             By the way, Your Honor, I

00:43:35   20    did file a much more extensive contract.

00:43:37   21                 THE COURT:             I know.         I saw it.

00:43:40   22                 MS. MELL:            We concede the one that was filed by the

00:43:43   23    State has the relevant, pertinent parts so we can refer to

00:43:47   24    that.

00:43:47   25         The contract is much broader in terms of what it means,



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00:43:52    1    what qualifies, who qualifies to be an employee.                                          You can't

00:43:55    2    pick and choose and say that because there is a dollar a day

00:44:01    3    floor rather than a ceiling, that gives broad discretion to

00:44:05    4    redefine the whole relationship.                             There is no at will

00:44:08    5    negotiations.            There is no contract negotiations.                                 That is

00:44:11    6    not in dispute.              That is not a factual issue.                            It is not

00:44:16    7    minimum wage work.                 It is not under state law, and it is not

00:44:18    8    here.

00:44:20    9                 THE COURT:             What if all of the detainees refused to

00:44:25   10    do any work?

00:44:27   11                 MS. MELL:            Good. They can sit there.                         It is a

00:44:30   12    voluntary work program.                     We cannot, per contract, compel them

00:44:34   13    to work.        There is no compliance requirement.

00:44:37   14         That brings up a good point.                           What if they do?                  Isn't that

00:44:41   15    a policy discussion for ICE?                         Isn't that a detention issue in

00:44:45   16    terms of who gets to sit idle and who doesn't get to sit

00:44:50   17    idle?      That is addressed in the PMDS -- or whatever.                                          I am

00:44:55   18    terrible at the acronym.                      I can't seem to get it in my head.

00:44:58   19    You know what I mean.                   I can put it up here on the board.

00:45:01   20         There is not just factors of pay.                                There is factors of

00:45:03   21    what is the appropriate balance and relationship between

00:45:07   22    detainees and people who are employees, what do those

00:45:12   23    requirements need to be, and how does that relationship work.

00:45:15   24    That is not for a judicial determination under the Minimum

00:45:17   25    Wage Act.         That has never been applied in any universe to a



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00:45:22    1    detention setting.

00:45:26    2         Let me show you what we are talking about locally.                                              Here

00:45:29    3    is what we are talking about.                         The argument here is simply

00:45:36    4    stated.      This is minimum wage work, when we know this isn't.

00:45:40    5    That is the Pierce County Jail right up the street.                                            The TNT

00:45:44    6    did a wonderful program talking to these trustees to find out

00:45:47    7    how they valued their opportunities to engage in collective

00:45:53    8    work, community work to make the inside of sitting in the

00:45:57    9    Pierce County Jail less boring, less stressful, better food,

00:46:01   10    better environment, keep your living spaces clean.

00:46:06   11         This is not work where we are asking the detainees to come

00:46:10   12    on the unsecure side and pick up the lunch items for the ICE

00:46:15   13    security people who have thrown out their garbage.

00:46:19   14                THE COURT:             Well, you know, you are getting into what

00:46:22   15    these people are actually doing.                            I don't think that is the

00:46:25   16    issue here.          Seems to me that if I am going to rule on issues

00:46:33   17    of preemption, that presupposes, for argument's sake, that

00:46:38   18    these people can be proven to be employees.                                     Then, assuming

00:46:44   19    that, is their wage rate preempted?

00:46:51   20                MS. MELL:            I am not sure I am following your logic.

00:46:54   21    Are you saying in order to reach a federal preemption

00:46:56   22    discussion, you have to decide as a matter of law that they

00:46:59   23    can be employed?              Or you don't have to decide that, you just

00:47:02   24    assume.

00:47:03   25                THE COURT:             I don't have to decide that.                           I think I



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00:47:05    1    have to assume that they are employees.                                  If they are not

00:47:10    2    employees, then there is nothing to preempt.

00:47:15    3                MS. MELL:            Okay.        All right.            Focus on preemption, is

00:47:17    4    what you are telling me to do.                          All right.

00:47:20    5         Talking about preemption.                        How on earth can you have a

00:47:26    6    congressional house report this long discussing in detail how

00:47:33    7    it will, de -- how the employment standards are affecting

00:47:40    8    immigration, illegal immigrants, people coming to the

00:47:45    9    United States and say that it is not a preemption issue?                                             You

00:47:50   10    can't narrow it down to the dollar a day because that is not

00:47:54   11    the nature of the relationship.                           It is not just a wage issue.

00:47:58   12    It is a, who are these people and are they entitled to be

00:48:02   13    working in the United States.                         They were saying no.                     Why

00:48:06   14    would you create it as a matter of public policy within a

00:48:09   15    detention facility?

00:48:11   16         The whole idea that the Minimum Wage Act is not punitive

00:48:18   17    defies the Minimum Wage Act.                        I went back in the legislative

00:48:22   18    history to actually look at the Minimum Wage Act. They are

00:48:25   19    saying, well, back wages aren't punitive.                                   Well, back wages,

00:48:30   20    in combination with the calculation of attorney's fees and

00:48:33   21    costs and those other consequences, are, indeed, punitive.

00:48:38   22    We are operating in the United States, in Washington State,

00:48:41   23    under an American rule.                    When you have an attorney's fee

00:48:45   24    shifting provision that is identified in the statute, you are

00:48:48   25    necessarily saying you have done something wrong.                                          In those



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00:48:52    1    cases where they are saying there is no preemption under

00:48:55    2    IRCA, they are worker compensation cases which is a no-fault

00:49:01    3    system without American rule, statutory fee shifting

00:49:03    4    provisions, they are personal injury cases where they are

00:49:08    5    deciding that they need to -- you know, that's not a fee

00:49:12    6    shifting either.              You don't have an attorney fee award in a

00:49:14    7    personal injury case.                  You are also dealing with not

00:49:18    8    detention.         There is no in-detention IRCA application ever

00:49:24    9    that has been considered because it is simply not a

00:49:27   10    competitive work environment.

00:49:29   11         There is no need -- the policy objective you see the

00:49:31   12    courts repeating in those cases, what you see them saying is,

00:49:36   13    we are not going to let an employer take advantage of illegal

00:49:39   14    immigrants regardless of -- well, actually, there is big

00:49:44   15    discussion in some of those cases about, well, let's see who

00:49:47   16    is the real bad actor here and compare who is the bad actor.

00:49:51   17    Did they get employed because they presented illegal

00:49:53   18    documentation so that is their fault, they don't get any?

00:49:56   19    That becomes a very unusual fact specific way to analyze

00:50:02   20    preemption, which I would recommend against.

00:50:05   21         In this instance, I would urge the Court to focus on the

00:50:09   22    fact that you have the IRCA position of not wanting to employ

00:50:16   23    immigrants illegally, then you have the added overlay that

00:50:20   24    all detention follows federal standards for correction, ACA

00:50:27   25    standard, PBNDS standards, all those things are there because



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00:50:32    1    there is a very careful balance that has to be maintained

00:50:35    2    within the detention context.                         Yes, it is preempted for those

00:50:40    3    reasons.

00:50:47    4         Other preemption.                 I don't know. What other preemption

00:50:51    5    issue is the Court struggling with?                              I don't see how you can

00:50:53    6    possibly get there.                Even for a population that arguably can

00:50:57    7    work, not in detention, not in detention in the free

00:51:03    8    negotiating Minimum Wage Act universe in what the Minimum

00:51:07    9    Wage Act is intended to address.                            You see like in the Hale

00:51:11   10    case, they kind of line up the FLSA standards and policy

00:51:15   11    objectives with the objectives of work, and they do this

00:51:23   12    comparative analysis.                  If you look at the Minimum Wage Act,

00:51:27   13    the two standards in the Minimum Wage Act that I -- the

00:51:31   14    Supreme Court certainly doesn't need to help you here because

00:51:34   15    the Minimum Wage Act has said what its purpose is.                                           That is

00:51:39   16    to maintain minimum standards of employment -- I am looking

00:51:45   17    at RCW 49.46.005(1) -- and to encourage employment

00:51:51   18    opportunities within the state.

00:51:53   19         Well, that necessarily means that you have employment

00:51:59   20    opportunities.            Employment opportunities in detention, in the

00:52:03   21    context of immigrants who may have documented or undocumented

00:52:09   22    status, whether or not they are able to work, those decisions

00:52:13   23    get made by ICE on the forefront, but more so on a case by

00:52:17   24    case, individualized basis.                       There are judges down there

00:52:20   25    administratively making these determinations.                                       If they are



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00:52:24    1    authorized to work, Geo can't be in the position of becoming

00:52:29    2    their employer in that sense where they then are the one who

00:52:34    3    has to affirm that they are performing at an acceptable level

00:52:38    4    that justifies the basis for them prevailing in their removal

00:52:43    5    action.      It creates a whole plethora of issues that conflict

00:52:47    6    with maintaining order in the context of corrections that

00:52:52    7    don't exist where a contractor, for instance, in the

00:52:56    8    California case, where a contractor is not paying prevailing

00:53:02    9    wages to a worker whom he hires on the outside at a cut-rate.

00:53:06   10    That is not what we are dealing with.

00:53:08   11         I have my binders here; I could go through and flop in

00:53:12   12    front of the Court every regulatory piece of information that

00:53:17   13    controls this relationship.                       It is abundant.                 It is abundant

00:53:21   14    because it is immigration.                      It is abundant because it is

00:53:23   15    detention.         You can't take those two things out of the

00:53:26   16    universe and judicially set the whole world on fire creating

00:53:30   17    Geo as the magnet for employment.                            It is a bad policy

00:53:33   18    decision.        It is bad policy.                  It is policy.               It needs to be a

00:53:37   19    policy at the federal level, not here.

00:53:41   20         The whole reason the State doesn't include the word

00:53:44   21    "federal" is because they don't engage in federal policy

00:53:46   22    discussions.           They are very careful not to step on one

00:53:50   23    another's toes.             They stay in their lane.                        The feds stay in

00:53:54   24    their lane.          It is as simple as that.

00:53:59   25                THE COURT:             Question:           What does the contract mean



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00:54:05    1    when it includes constraints the contractor is expected to

00:54:12    2    perform, follow, and that includes applicable federal, state

00:54:20    3    and local labor laws and codes?

00:54:23    4                MS. MELL:            With -- are you saying the labor laws and

00:54:28    5    codes are part of state law?                        Or are you asking me about

00:54:36    6    applicable?

00:54:36    7                THE COURT:             I am talking about your contract.

00:54:39    8                MS. MELL:            The contract ensures that Geo is a good

00:54:43    9    government citizen, and to the extent laws locally and

00:54:49   10    state-wide apply to Geo, Geo will be responsive to the needs

00:54:53   11    of the local community.                    For instance, on the zoning issues,

00:54:57   12    I am representing Geo on a discussion about whether or not

00:55:01   13    they should be subject to Department of Corrections -- well,

00:55:06   14    correction zoning standards, whether or not they are an

00:55:10   15    essential public facility.                      That whole private/public debate

00:55:13   16    went by the wayside.                 The issue of privatization is a

00:55:16   17    non-issue.         There is no distinction there.                             It becomes sort

00:55:19   18    of one of these how much is too much, does it really apply.

00:55:24   19    Geo, Geo, honestly in the years I have been working for them,

00:55:28   20    they try to be good citizens and work and negotiate with

00:55:31   21    local government on those things that seem amenable and seem

00:55:34   22    to not --

00:55:36   23                THE COURT:             Do they follow state law for their

00:55:39   24    employees?

00:55:40   25                MS. MELL:            That is an interesting question.                               We have



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00:55:42    1    not had to.          For instance, is the question:                             Does Geo have to

00:55:46    2    pay state employees subject to the Minimum Wage Act?                                             I would

00:55:50    3    still say no, not necessarily.                          The laws that Geo follows are

00:55:56    4    the contract.           If you look in the contract, even the

00:55:59    5    employees are highly regulated in their pay rate.                                          For the

00:56:03    6    most part, those pay rates exceed the minimum wage, so I

00:56:08    7    think that is why it has never been an issue.

00:56:09    8                THE COURT:             Not all of them.

00:56:11    9                MS. MELL:            They are subject to collective bargaining.

00:56:16   10    In the context -- you know the provision in the congressional

00:56:19   11    reports where they discuss there is not supposed -- IRCA

00:56:22   12    provisions were not intended to supercede labor regulations.

00:56:27   13    If you look at that whole paragraph, it actually concerns and

00:56:31   14    discusses the NLRB.                My read of labor laws in that context is

00:56:37   15    actually the collective bargaining rights, and those things

00:56:40   16    that fit within civil service and collective bargaining as

00:56:44   17    opposed to pure minimum wage laws.                             I don't think -- I think

00:56:48   18    it is a case by case basis.                       Certainly here, where there is

00:56:51   19    an express exclusion under the state law for private

00:56:56   20    contractors running work programs for people in detention,

00:57:02   21    and the people have spoken, they want an offset.                                         They have

00:57:07   22    found it to be in the State's interest to have offsets and to

00:57:11   23    have work in detention not at minimum wage.

00:57:16   24         What we do know, it doesn't matter if it is a dollar a day

00:57:19   25    or five dollars a day or the minimum wage that ICE has



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00:57:22    1    expressed.          ICE has expressed a dollar.                           They didn't say that

00:57:27    2    it has to be minimum wage, and they would have this

00:57:31    3    discussion, and advocates have been doing a very good job

00:57:34    4    with regard to minimum wage programs.                                 This state has known

00:57:37    5    for years.          They have been down there.                          I talk to them in

00:57:40    6    various contexts as to whether or not we are compliant.                                               They

00:57:46    7    know.

00:58:01    8                 THE COURT:             Let me look here at some of my notes.

00:58:04    9    You can be seated.                 I may have some questions here for all of

00:58:09   10    you.

00:58:10   11                 MS. MELL:            Thank you, Your Honor.

00:58:57   12                 THE COURT:             The question in my mind here is this -- I

00:59:05   13    have trouble with the acronym, too.

00:59:14   14                 MR. FREE:            PBNDS?

00:59:16   15                 THE COURT:             Yes.       Apparently, the secretary of ICE

00:59:30   16    adopted those standards.                      Most of them, I gather, found their

00:59:38   17    way into the contract.                    Those are standards.                     I gather they

00:59:50   18    are not requirements.

00:59:54   19                 MR. FREE:            They are not.               They are regulatory agency

00:59:59   20    guidelines that did not withstand or go through the process

01:00:03   21    of notice and comment or rule-making.                                 They set forth

01:00:06   22    requirements that have been incorporated into Geo's contract.

01:00:11   23    Geo has agreed to abide by them.                             There are no penalties for

01:00:16   24    not abiding, at least not real ones.

01:00:18   25                 THE COURT:             Ms. Mell, do you agree with that?



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01:00:21    1                MS. MELL:            Agree with the fact that the standards are

01:00:25    2    not binding?           No, I think ICE and Geo take those standards

01:00:30    3    very seriously, and the actual nature of the --

01:00:34    4                THE COURT:             Well, I agree with that.                        They are mostly

01:00:39    5    in the contract, so they take them seriously.                                       My question is

01:00:44    6    whether there is some authority in those detention standards

01:00:51    7    that has to be followed.                     Is there any requirement, any

01:00:55    8    regulation or rule or law or anything, or are they just the

01:01:01    9    wish list of the director?

01:01:04   10                MS. MELL:            I think they are the policy position,

01:01:07   11    express policy position just like the ESA bulletin from the

01:01:12   12    Department of Labor & Industries that the private contractors

01:01:16   13    providing work, having operating work programs don't have do

01:01:25   14    pay minimum wages, I think it would be equal to the ESA

01:01:28   15    bulletin.

01:01:28   16                THE COURT:             What are you referring to?

01:01:30   17                MS. MELL:            Let me give you -- I am looking at a

01:01:48   18    document.        I am drawing a parallel between state agency

01:01:55   19    conduct and federal agency conduct so the PBNDS policy

01:02:00   20    provisions are the expression of the agency as to how they

01:02:05   21    want things to operate.                    They will expect that they operate

01:02:07   22    in compliance with those policy expressions.                                      Similar --

01:02:12   23                THE COURT:             They are not binding?

01:02:15   24                MS. MELL:            I am not sure what you mean by "not

01:02:17   25    binding."



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01:02:17    1                THE COURT:             I mean a rule or regulation.                           Can

01:02:20    2    somebody look at this, somebody wants to compete with Geo,

01:02:27    3    they want to not follow a lot of those standards.                                          They make

01:02:35    4    a different proposal to the government.                                  The government can

01:02:38    5    take them up on it.                They don't have to follow these

01:02:41    6    standards.

01:02:42    7                MS. MELL:            They could have the policy discussion,

01:02:44    8    absolutely.          They could change policy.                         They could choose --

01:02:47    9                THE COURT:             Is this the official United States of

01:02:52   10    America government policy or is this the wish list of the

01:02:59   11    director of ICE?

01:03:03   12                MS. MELL:            I think you give too much discretion to

01:03:07   13    the director of ICE to have a wish list and treat it as

01:03:13   14    entirely a wish list as opposed to something that he would

01:03:16   15    enforce.       Administratively, I think the ICE director would

01:03:23   16    say that if you are out of compliance with each, you are

01:03:27   17    violating the rules of the way we want things to operate,

01:03:30   18    just like if Geo violates an ESA, it would be a violation of

01:03:37   19    L&I's policies.             They would choose to enforce it.                               We could

01:03:41   20    always come to court and debate that certainly.

01:03:44   21                MR. FREE:            Actually, Your Honor --

01:03:45   22                THE COURT:             In the New York Times, April of 2017,

01:03:50   23    there was an article that indicated, I quote, "According to

01:03:59   24    two Homeland Security officials who had knowledge of the

01:04:03   25    plans, but declined to be identified because they were not



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01:04:06    1    authorized to speak publicly, the new jail contract will

01:04:11    2    contain a far less detailed set of regulations."

01:04:16    3         In other words, the administration apparently is thinking

01:04:20    4    about changing these.

01:04:22    5                MS. MELL:            The administration was thinking about

01:04:24    6    changing things.              That's why you see terms where ICE decided

01:04:30    7    to express the dollar a day.                        They didn't want to be an

01:04:34    8    agency saying they were controlling exactly the amount.                                              They

01:04:38    9    wanted the discussions to continue as a policy matter as to

01:04:41   10    what kind of programs are we going to have, is everything

01:04:44   11    going to be dollar a day work?                          Are we going to have

01:04:47   12    competitive economic programs?                          Are we going to have least

01:04:51   13    restrictive work alternatives.

01:04:52   14                THE COURT:             Who has the authority to set the

01:04:55   15    standards for the inmates?

01:04:58   16                MR. FREE:            Do you want to hear from Ms. Mell?

01:05:02   17                THE COURT:             I don't care.               I want to hear from any of

01:05:04   18    you that want to answer.

01:05:05   19                MR. FREE:            I can just tell you, the government says

01:05:10   20    that these standards are unenforceable at law.                                        You can't

01:05:14   21    take them to court and enforce these standards.                                        As a matter

01:05:18   22    of administrative law, they are going to get zero deference.

01:05:22   23    These are federal administrative standards.                                     I am not sure

01:05:25   24    what Ms. Mell put on the screen.                            These are not uniform

01:05:28   25    government enforceable standards.                            In fact, at contracting



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01:05:32    1    facilities across the country, they follow different

01:05:35    2    versions, some intergovernmental services agreement

01:05:38    3    facilities don't follow the 2011 or the 2016 performance base

01:05:45    4    national detention center standards.                               Some services

01:05:48    5    processing centers don't.                      It is a patchwork across the

01:05:51    6    country.

01:05:52    7                THE COURT:             Well, if that's the only place the dollar

01:05:55    8    a day minimum appears, where does the authority for a dollar

01:06:02    9    a day come from, other than the agreement?

01:06:07   10                MS. MELL:            Congressional appropriation that said it

01:06:10   11    would be a dollar a day.

01:06:11   12                THE COURT:             Well, the appropriation didn't.                              The

01:06:15   13    contract said they would be reimbursed a dollar a day.

01:06:21   14    But --

01:06:22   15                MS. MELL:            It did say in the '70s that would be the

01:06:24   16    amount.      Period.          What has changed is there hasn't been a

01:06:28   17    subsequent appropriation with the same limitation since then

01:06:32   18    so then it is up in the air.                        If it is up in the air,

01:06:35   19    Your Honor, that doesn't give this Court the invitation to go

01:06:40   20    in and administer a state law Minimum Wage Act to decide that

01:06:44   21    that is the standard applicable to a detention facility

01:06:49   22    housing illegal --

01:06:50   23                THE COURT:             I understand your position, I think.

01:06:52   24                MR. FREE:            They foreclosed this argument.                             They've

01:06:57   25    abandoned the argument that this is regulatorily preempted.



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01:07:00    1    Now we are justifying the statute.                             Yes, the '70s was the

01:07:03    2    last time congress set a number.                            Under that context, there

01:07:09    3    is not the clear congressional purpose to displace the

01:07:13    4    Minimum Wage Act that you need in order to find preemption.

01:07:17    5    So then what you are left with is these factual

01:07:21    6    representations that have been made to the Court about what

01:07:23    7    it would actually mean in practice and what the policy

01:07:27    8    implications would be.

01:07:28    9         My friend has asserted there is going to be a magnet for

01:07:33   10    people en masse to cross the border and turn themselves in so

01:07:37   11    they can work for minimum wage in Washington State.                                            This is

01:07:41   12    her assertion.            She's asserted there is no contract.                                   In

01:07:45   13    discovery, Your Honor, we will adduce the contract that

01:07:47   14    workers work under.                This is a 12(b)(6) motion.                          There are

01:07:51   15    fact issues here that do not prevent us from plausibly

01:07:56   16    pleading violation of the Minimum Wage Act.

01:07:59   17         With respect to the photo I have asked my friend to put up

01:08:02   18    on the screen and her point is it is detainee labor.

01:08:06   19    Your Honor, this is the key insight of Hale.                                      The key insight

01:08:11   20    of Hale and cases that follow-up on Hale in the Ninth

01:08:15   21    Circuit, not Alvarado from the Fifth, the key insight is who

01:08:19   22    does the detainee labor belong to, whose is it?

01:08:23   23         Hale says if it belongs to the detention facility, you

01:08:26   24    don't use the Bonnette test that we use in the Ninth Circuit.

01:08:30   25    Follow along cases, Cooper and Baker and Castle, analyze the



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01:08:35    1    detainees' labor under that framework.

01:08:39    2         Since 1896, the Supreme Court has made clear that

01:08:42    3    detainees detained for immigration cannot be forced to work.

01:08:47    4    Today, Geo has said, you can't force them to work.

01:08:50    5    Incidentally, this will be adduced in discovery, you can be

01:08:54    6    put in solitary for inciting a labor stoppage, but since Wong

01:09:01    7    Wing it has been clear, the black letter U.S. Supreme Court

01:09:04    8    law, that detainees cannot be forced to work.                                       What that

01:09:07    9    means is their labor belongs to them.                                Under Ninth Circuit

01:09:12   10    case law with cases like the Gonzalez case, Gonzalez vs

01:09:17   11    Mayberg in the Central District of California, it is

01:09:20   12    recognized in Baker vs McNeil and Castle, if the labor

01:09:25   13    belongs to the detainee, you analyze it under the traditional

01:09:31   14    FLSA test.         Geo does not address this issue.

01:09:34   15                THE COURT:             All right.            I am trying to ask some

01:09:37   16    questions here.

01:10:21   17                I assume these detainees are paid cash money without

01:10:28   18    withholding; is that correct?

01:10:31   19                MS. MELL:            They are not paid cash.                       There is money

01:10:34   20    placed on their account without withholding for the cost of

01:10:37   21    their care.

01:10:39   22                THE COURT:             Without withholding for income tax?

01:10:41   23                MS. MELL:            Correct.

01:10:43   24                THE COURT:             Without withholding for Social Security?

01:10:45   25                MS. MELL:            Correct.



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01:11:12    1                THE COURT:             All right.            I had a lot of questions,

01:11:16    2    most of which have been answered.                            Do you have further brief

01:11:19    3    rebuttal?

01:11:20    4                MR. FREE:            I did.

01:11:21    5                THE COURT:             Brief.

01:11:24    6                MR. FREE:            Very briefly.               I want to leave the Court

01:11:33    7    with two quick thoughts.                     First, this is a 12(b)(6) motion.

01:11:40    8    Your Honor has questions about the facts of employment at the

01:11:44    9    Northwest Detention Facility.                         There are contract issues that

01:11:49   10    could be elucidated through discovery.                                 At this point, the

01:11:53   11    question is:           Have the plaintiffs plausibly stated a claim

01:11:57   12    upon which the motion can be granted?                                If any of the factual

01:12:00   13    questions you have been interested in or that Geo has raised

01:12:03   14    would determine the way the Court comes out, the appropriate

01:12:06   15    answer is deny the motion, let's do some discovery, even if

01:12:11   16    it is limited as to the preemption question.

01:12:13   17         Second, this is not criminal detention.                                    This is civil

01:12:19   18    detention.         This is not publicly-run detention. This is

01:12:23   19    private detention, unlike a public facility where every

01:12:29   20    detainee's work is going to enrich the taxpayer by saving the

01:12:35   21    taxpayer a dollar on paying or however much on what that is.

01:12:39   22    Every detainee in this case is in some respect enriching Geo.

01:12:47   23    That is different from Alvarado Guevara, which is a

01:12:49   24    publicly-run facility.                   The motion that is currently pending

01:12:53   25    before this Court to seal the contract explains to the Court



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01:12:58    1    why.     Geo has said you can't post on Pacer our bed date

01:13:03    2    rates, you can't post our detainee staffing plan because that

01:13:07    3    would help our competitors.                        The reason is they profit from

01:13:13    4    this detention and from this work.                              That is a --

01:13:18    5                 THE COURT:             Is that relevant at this stage?

01:13:21    6                 MR. FREE:            It is, Your Honor.                   The reason is because

01:13:24    7    Geo relies on Alvarado Guevara and the cases that talk about

01:13:29    8    detainee labor in the immigration detention context.                                              To the

01:13:33    9    extent Your Honor is persuaded by that, we cite a case from

01:13:36   10    the Fifth Circuit that got decided months afterward that

01:13:39   11    says, no, when you are doing labor for a private party, the

01:13:44   12    FLSA can apply.              That was a case out of Louisiana where the

01:13:49   13    sheriff had his inmates going to a third party farm and doing

01:13:52   14    work.      Key distinction because that is the premise that Geo

01:13:56   15    relies on in the preemption and in the MWA argument it makes.

01:14:01   16    This is civil detention and private.

01:14:03   17         Thank you, Your Honor.

01:14:05   18                 THE COURT:             Ms. Chien.

01:14:10   19                 MS. CHIEN:             I want to make three points, Your Honor.

01:14:15   20    First, Geo repeatedly states the Minimum Wage Act doesn't

01:14:20   21    refer to the federal -- to the Northwest Detention Center

01:14:25   22    because the State is trying to, quote, stay in their own

01:14:29   23    lane.      The Minimum Wage Act repeatedly has been applied to

01:14:33   24    federal contractors doing federal work.                                   Doesn't matter.             The

01:14:38   25    staying in your own lane, our minimum wage claim stays in our



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01:14:42    1    own lane in the sense it applies within our own state.

01:14:45    2    Northwest Detention Center sits in our own state.

01:14:48    3         Second, Geo repeatedly refers to detention and immigration

01:14:54    4    as if it was a get-out-of-jail free card.                                   Those are not

01:14:57    5    get-out-of-jail free cards.                       The Minimum Wage Act, the

01:15:00    6    legislature specifically considered detention and detention

01:15:05    7    facilities, and explicitly included in the exemption that

01:15:09    8    does not include Northwest Detention Center.

01:15:11    9         Finally, Geo states that the plaintiffs and the State are

01:15:16   10    trying to, quote, set the world on fire, requiring that Geo

01:15:20   11    comply with employee regulation.                            It seems to be so

01:15:26   12    burdensome for Geo that they are defending this litigation on

01:15:29   13    that basis.          Employers on a daily basis, routine basis in

01:15:35   14    this state, comply with our minimum wage laws without the

01:15:38   15    burden, without setting the world on fire.                                    They do it every

01:15:41   16    single day.          It is not a burden.

01:15:44   17         Regarding the L&I guidelines that were placed on the ELMO

01:15:50   18    earlier, those are again similar to the PBNDS.                                        Not binding.

01:15:56   19    Those are interpretations by L&I, much like the ICE

01:16:01   20    guidelines were interpretations but not binding.                                         What are

01:16:05   21    binding are regulations.                     Here, we have none from ICE or the

01:16:09   22    federal government indicating that Geo is not to pay detainee

01:16:13   23    workers minimum wage.

01:16:14   24         Thank you.

01:16:16   25                THE COURT:             Thank you, Ms. Chien.



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01:16:21    1         Do you wish to volunteer a closing thought here?

01:16:24    2                 MS. MELL:            Closing thought is:                    Why wouldn't you

01:16:27    3    follow Menocal and White?                       There was no hesitation by those

01:16:31    4    courts to understand that the application of the law to a

01:16:36    5    detention facility, whether the word "federal" was in the

01:16:39    6    code or not, was not disconcerting.                               It didn't matter because

01:16:44    7    the policy objectives are the same.                               There still has to be a

01:16:48    8    discussion at the federal level, like you are indicating, at

01:16:51    9    the agency, with congress to decide the scope of work.                                                It is

01:16:56   10    important that the Court understands, this is not like a

01:16:59   11    sheriff having the detainees go out and work the farm or

01:17:03   12    whatever the supposition is.                         That is the purpose of the

01:17:06   13    photographs.            Side by side we see, it is:                          This is the jail.

01:17:14   14    People in jail have not been convicted.                                   They are working for

01:17:19   15    the betterment of the jail and to keep it safe, to keep it

01:17:23   16    clean, to feed themselves.                       We are talking about the secure

01:17:27   17    side.      We are talking about their own food.                                  We are talking

01:17:31   18    about their bunks, their bedding.

01:17:35   19                 THE COURT:             Maintaining their own space is a little

01:17:38   20    different than what we are talking about here.                                         I think it is

01:17:41   21    pretty clear that they have an obligation to keep their own

01:17:45   22    space clean.

01:17:46   23                 MS. MELL:            It is on the continuum, though,

01:17:50   24    Your Honor.           We haven't reached that continuum where congress

01:17:54   25    or where ICE has decided that there should be offsets because



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01:17:59    1    we are still in the lower level realm of taking care of

01:18:03    2    oneself.       Collectively, yes.                   But we are still in the

01:18:07    3    universe, and the whole continuum is what ICE and congress

01:18:12    4    gets to decide, not the courts.

01:18:14    5                THE COURT:             Thank you.

01:18:16    6                MS. MELL:            Thank you, Your Honor.

01:18:19    7                THE COURT:             We are current on things.                         We will get

01:18:25    8    you an answer to these motions shortly.                                  With the holiday

01:18:32    9    coming, it will probably be after that.                                  I would expect in

01:18:36   10    the week following, we will have an opinion on these motions

01:18:40   11    to dismiss.

01:18:41   12         Thank you.           You have been very helpful.

01:18:44   13                                 (The proceedings recessed.)

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 2                                       C E R T I F I C A T E

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 4

 5         I certify that the foregoing is a correct transcript from

 6    the record of proceedings in the above-entitled matter.

 7

 8

 9

10    /s/ Angela Nicolavo

11    ANGELA NICOLAVO
      COURT REPORTER
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